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INDIANAPOLIS DIVIsIoN 5 0 s . § 2 ,
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JAMES R. RECKER, 11 ) L"‘Ul"`§l §§ § : ,
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Plaintiff, )
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Vs. )
) . r. 1‘2 v. §§ "E"""A
MEDICREDIT,I]_\IC. ) ii §7*CV' n ':) »~Q,»l..{»rll -WTL
)
Defendant. )

 

PLAINTIFF’S COl\/.IPLAINT FOR DAMAGES

 

Comes now the Plaintiff, J ames R. Recker, Il, by counsel, J ames R. Recker, and for his
Complaint for Damages against the Defendant, MEDICREDIT, INC. and in support of same,

states and alleges as follows:

l. This action is authorized and brought pursuant to 15 U.S.C.A. 1692, Title VIII of the
Consumer Protection Act, known as the Fair Debt Collection Practices Act (FDCPA), to
address a violation of Plaintiff’ s rights thereof;

2. Plaintiff, J ames R. Recker, ll, is an adult, United States citizen residing at 6104 Carvel
Avenue, 2A, in the City of Indianapolis, County of Marion, State of Indiana Which is
located in the Southern District of Indiana. Plaintiff, J ames R. Recker, II, is a debtor

within the meaning of that term as contemplated by the Fair Debt Collection Practices Act

(FDCPA);

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10.

Defendant, MEDICREDIT, INC., is a third party debt collector and is covered by the Fair
Debt Collection Practices Act;

On or about February 3, 2007 Defendant, MEDICREDIT, INC., initiated a telephone call
to Plaintiff at his residence in an attempt to collect an alleged consumer debt on behalf of
St. Vincent’s Emergency Physicians, lnc. That was the initial communication

On or about Feb 5, 2007, Defendant, MEDICREDIT, INC. by its employee identified as
Ms. Bell placed another telephone call to Plaintiff in an attempt to collect the debt.
Plaintiff spoke with Ms. Bell;

On or about Feb. 20, 2007, Defendant, MEDICREDIT, INC., by its employee, Mary
Boggess, again contacted Plaintiff by telephone in an attempt to collect the debt. Plaintiff
spoke with Ms. Boggess;

Defendant, MEDICREDIT, INC. did not provide a written communication within five day
of the initial telephone communication of Feb. 3, 2007 containing the statutory language
required pursuant to the FDCPA advising the Debtor of his rights under the Act;
Defendant, MEDICREDIT, INC. has not provided any written communication containing
the statutory language required pursuant to the FDCPA advising the Debtor of his rights
under the Act;

That the actions of the Defendant MEDICREDIT, INC. constitute unfair collection
practices;

AS a result of the unlawful collection practices of the Defendant, MEDICREDIT, INC.,
Plaintiffs rights under 15 U.S.C.A. 1692, have been violated and Plaintiff has been

damaged thereby.

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WHEREFORE, Plaintiff prays that damages be awarded to the Plaintiff and against the
Defendant, pursuant to the applicable provisions of the Fair Debt Collection Practices Act, for

reasonable attorney fees, and for all other relief just and appropriate in the premises.

 

 

J ames R. Recker

Attorney at Law

#22233-49

6104 Carvel Avenue, Suite 2A
lndianapolis, Indiana 46220
(317) 479-1470
jamesrecker@justice.com

CERTIFICATE OF SERVICE
I hereby certify that a true and exact copy of the foregoing was served upon the Defendant,
MEDICREDIT, INC., through its registered agent, Corporation Service Company, 251 East Ohio
St, Ste 500, Indianapolis, IN 46204 by placing same in Certifled First Class United States Mail,

return receipt requested, postage paid this 23rd day of Feb. 2007.

 

 

J ames R. Recker

